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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—
                                       GENERAL

 Case No.     2:20-cv-00406-SSS-JCx                            Date April 30, 2025
 Title Francesca Gregorini v. Apple Inc. et al.



 Present: The Honorable         SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


               Irene Vazquez                                    Not Reported
                Deputy Clerk                                    Court Reporter

     Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                None Present                                    None Present


 Proceedings: (IN CHAMBERS) ORDER DENYING PLAINTIFF’S
              MOTION FOR A NEW TRIAL AND JUDGMENT AS A
              MATTER OF LAW [DKT. 450]


      Before the Court is a Motion for a New Trial and Judgment as a Matter of
Law (“Motion”) filed by Plaintiff Francesca Gregorini. [Dkt. 450]. Defendants
Apple Inc., M. Night Shyamalan, Blinding Edge Pictures, Inc., Uncle George
Productions, Escape Artists LLC, Dolphin Black Productions, Tony Basgallop,
Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch (collectively, the
“Defendants”) oppose. [Dkt. 452]. Having considered the parties’ arguments, the
relevant legal authority, and the record in this case, the Court DENIES the Motion.
[Dkt. 450].

I.      BACKGROUND

      This case arises out Defendants’ alleged infringement of Gregorini’s movie,
The Truth About Emanuel (“Emanuel”) in the making of their television series,
Servant. Following a two-week trial, the jury returned a defense verdict, finding
no Defendant had access to Gregorini’s film. [See Dkt. 449].

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       Gregorini sought to prove Defendants’ access by, in part, demonstrating
Emanuel’s “widespread dissemination.” [See Motion at 9]. Using the Ninth
Circuit Model Instruction, the Court instructed the jury that “[a]ccess may be
shown by…the plaintiff’s work being widely disseminated.” [Dkt. 421 at 40].
Prior to trial, Gregorini proposed adding a definition of “widely disseminated” to
the instruction that stated the jury “may consider whether” Emanuel was
“commercially successful” or “attained notoriety in or saturated a relevant market
in which the plaintiff and defendant participated.” [See Motion at 10]. The Court
denied Gregorini’s addition, opting for the Model Instruction.

       Additionally, at 3:11 p.m. on the first day of deliberation, the jury submitted
a note to the Court asking for a definition of widely disseminated. [Dkt. 426].
While the Court was working to craft a response to the question, the jury returned
its verdict at 4:52 p.m. [Dkt. 428]. Now, Gregorini moves for a new trial and
judgment as a matter of law on this record. [Dkt. 450]. The Court discusses
additional relevant facts below.

II.   LEGAL STANDARDS

      A.     New Trial

         Federal Rule of Civil Procedure 59(a) authorizes new trials “for any reason
for which a new trial has heretofore been granted in an action at law in federal
court.” Fed. R. Civ. P. 59(a)(1)(A). A court generally “must uphold a jury verdict
if it is supported by substantial evidence.” Guy v. City of San Diego, 608 F.3d 582,
585 (9th Cir. 2010). Substantial evidence is evidence “adequate to support the
jury’s conclusion, even if it is also possible to draw a contrary conclusion.” Id.
(quoting Pavao v. Pagay, 307 F.3d 915, 918 (9th Cir. 2002)).

       However, a court may grant a new trial if “the verdict is contrary to the clear
weight of the evidence, or is based upon evidence which is false, or to prevent . . .
a miscarriage of justice.” United States v. 4.0 Acres of Land, 175 F.3d 1133, 1139
(9th Cir. 1999) (quoting Oltz v. St. Peter’s Cmty. Hosp., 861 F.2d 1440, 1452 (9th
Cir. 1998)). In considering a Rule 59(a) motion, the court is “not required to view
the trial evidence in the light most favorable to the verdict.” Experience Hendrix
L.L.C. v. Hendrixlicensing.com Ltd., 762 F.3d 829, 842 (9th Cir. 2014). Instead,
the court “can weigh the evidence and assess the credibility of the witnesses.” Id.




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       B.    Judgment as a Matter of Law

       Under Federal Rule of Civil Procedure 50(b), courts may enter judgment as
a matter of law after a jury trial if “the court finds that a reasonable jury would not
have a legally sufficient evidentiary basis to find for the party on that issue.” See
Fed. R. Civ. P. 50(a)(1). “The test applied is whether the evidence permits only
one reasonable conclusion, and that conclusion is contrary to the jury’s verdict.”
E.E.O.C. v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th Cir. 2009) (quoting
Josephs v. Pac. Bell, 443 F.3d 1050, 1062 (9th Cir. 2006)). In considering a Rule
50(b) motion, unlike a Rule 59(a) motion, the court may not weigh the evidence or
make credibility determinations. Id. (citing Reeves v. Sanderson Plumbing Prods.,
Inc., 530 U.S. 133, 150 (2000)). The court must view the evidence in the light
most favorable to the nonmoving party and draw all reasonable inferences in that
party’s favor. Josephs, 443 F.3d at 1062.

III.   DISCUSSION

       A.    New Trial

       Gregorini moves for a new trial on the grounds that (1) the verdict is
contrary to the clear weight of evidence and (2) the Court failed to give adequate
instruction to the jury. [Motion at 12–13]. The Court finds neither of these
grounds warrant a new trial.

             1.      Weight of Evidence

      Substantial evidence supports the jury’s verdict that no Defendant had
access to Emanuel. See Guy, 608 F.3d at 585. Gregorini sought to prove
Defendants’ access to her work through “widespread dissemination” and “chain-
of-events” theories. [Motion 19–21]. See Loomis v. Cornish, 836 F.3d 991, 995
(9th Cir. 2016). There was adequate evidentiary support to deny a finding of
access on both theories.

                     i. Widespread Dissemination

      At trial, substantial evidence indicated Emanuel was not widely
disseminated. As the Court has previously held, Emanuel may be widely
disseminated if it attained substantial commercial success or notoriety in the
relevant market. [Dkt. 337 at 7–9]. See Loomis, 836 F.3d at 997 (holding “[t]he
evidence required to show widespread dissemination will vary from case to case,”

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though in “most cases” commercial success will be determinative); Cope v.
Warner Recs., Inc., No. 2:22-CV-01384-SSS-ASx, 2023 WL 11827959, at *4
(C.D. Cal. June 5, 2023) (holding Ninth Circuit precedent indicates “a work’s
degree of commercial success or notoriety must be ‘substantial’” to meet the
threshold of widespread dissemination).

      First, Gregorini conceded in her opening statement that Emanuel was not a
commercial success and “did not make money.” [Dkt. 437, Trial Transcript Day
Two (“Trial Tr. 2”) at 127:7-12]. Indeed, throughout trial, Defendants repeatedly
emphasized Emanuel made only $4,000 in ticket sales. [See Dkt. 440 Trial Tr.
Day Five at 824:20-24, 857:24-858:4; Trial Tr. 2 at 160:4-22, 168:5-10]. Thus,
adequate evidence supports a jury’s conclusion Emanuel was not commercially
successful.

        Second, there was substantial evidence Emanuel did not attain sufficient
notoriety. Gregorini argues, both then and now, that Emanuel’s premiere at
Sundance Film Festival, showings at dozens of other festivals, and coverage in
mainstay entertainment reporters shows the widespread dissemination of her work
and the reasonable possibility Defendants had access to it. [Motion at 18–19].
However, Gregorini’s own expert on access, Ellen Pittleman, never saw or heard of
Emanuel prior to this litigation. [Trial Tr. 2 at 854:24-855:7]. Pittleman even
testified to attending film festivals, including Sundance, reading the entertainment
publications Emanuel was featured in, and generally “”keep[ing] [her] finger on
the pulse of the entertainment industry.” [Id. at 853:18-854:20]. And yet, even she
was unaware of Emanuel.

       In fact, Gregorini was the only witness at trial who testified to seeing
Emanuel prior to this litigation, a point Defendants heavily emphasized in their
closing argument. [Dkt. 442 Trial Transcript Day Seven at 1540:23-1542:11].
If the basis for Emanuel’s notoriety did not extend to Gregorini’s own expert or
any other trial witness, it is reasonable for the jury to conclude Emanuel may not
have been sufficiently acclaimed to establish widespread dissemination and the
Defendants’ access.

                     ii. Chain of Events

      Likewise, substantial evidence supports the conclusion there was no “chain
of events” linking Emanuel and the Defendants’ access. See Loomis, 836 F.3d at
995. To establish a chain of events, Gregorini had to demonstrate Defendants’

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“reasonable opportunity to view” Emanuel “before” Servant was “created.” [Dkt.
421, Final Jury Instructions, at 40].

       At trial, Gregorini showed Defendant and Apple Executive Max Aronson
received an email with a link to Emanuel in March of 2018. [Trial Tr. 2 at 802:3-
805:5]. However, Aronson obtained the last of the allegedly infringing episode
scripts of Servant by January 2018. [Id. at 796:13-797:23]. Those scripts already
contained a reborn doll and a delusional mother, or the central elements alleged to
be infringed. [See id.]. Thus, a jury could reasonably conclude Aronson’s access
to Emanuel happened after Servant was created, and a “chain of events” was not
established.

      Accordingly, the jury’s verdict finding no Defendant had access to
Emanuel is supported by substantial evidence.

             2.      Jury Instruction

       Gregorini contends the Court’s failure to instruct the jury on her theory of
access and respond to the jury’s question about widespread dissemination was
clear error requiring a new trial. [Motion at 13–19]. Specifically, Gregorini argues
the Court should have instructed the jury that “widespread dissemination does not
require commercial success” and can be “based on notoriety and saturation in the
entertainment industry.” [Id. at 13–14]. Gregorini likewise argues the jurors’
question underscored their need for clarity and the Court’s response. [Id. at 15–
17]. The Court disagrees.

       If a district court has given “erroneous jury instructions” or did not “give
adequate instructions,” a new trial may be warranted. Crowley v. Epicept Corp.,
883 F.3d 739, 747–48 (9th Cir. 2018). Jury instructions “must fairly and
adequately cover the issues presented, must correctly state the law, and must not be
misleading.” Dang v. Cross, 422 F.3d 800, 805 (9th Cir. 2005). However, if the
“error in the jury instruction is harmless,” the jury verdict “does not warrant
reversal.” Id. Similarly, “it is reversible error for a trial judge to give an answer to
a jury’s question that is misleading, unresponsive, or legally incorrect.” United
States v. Anekwu, 695 F.3d 967, 986 (9th Cir. 2012).

       First and foremost, even if the Court erred as Gregorini argues, it was clearly
harmless. As discussed above, substantial evidence supported the jury’s verdict
that no Defendant had access. Particularly, there was substantial evidence showing
that Emanuel was neither commercially successful nor sufficiently notable in the
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relevant market to establish widespread dissemination. So even if the jury received
the exact instructions and note response Gregorini requested, it is “more probable
than not that the jury would have reached the same verdict.” See Dang, 422 F.3d
at 811 (9th Cir. 2005).

       What is more and equally dispositive here: the Court did not err in its jury
instructions or its attempt to respond to the jury note. The Court provided the jury
with the Ninth Circuit Model Instruction on “Copyright Infringement—Copying—
Access Defined.” [See Dkt. 421 at 40]. It included instruction on Gregorini’s two
theories of access: chain of events and widespread dissemination. [Id.]. See Dang,
422 F.2d at 805 (holding jury instructions must include a party’s “theory of the
case” if supported by law and evidence). Gregorini argues the instruction should
have clarified “widespread dissemination does not require commercial success,”
[Motion at 13], but nowhere did the instructions indicate commercial success was
required. [See Dkt. 421 at 40]. It is true Defendants argued Emanuel’s lack of
commercial success meant few people saw the film at trial, but Gregorini was free
to, and did in fact, rebut this argument, arguing Emanuel’s notoriety established its
widespread dissemination. [See Trial Tr. 2 at 127:7-12, 160:4-16; Dkt. 442 Trial
Transcript Day Seven at 1488:16-1490:20].

        The instruction was an accurate statement of the law. See Loomis, 836 F.3d
at 995 (“Where there is no direct evidence of access, circumstantial evidence can
be used to prove access either by (1) establishing a chain of events linking the
plaintiff's work and the defendant's access, or (2) showing that the plaintiff's work
has been widely disseminated.”). Further instruction, as Gregorini requested,
would have potentially misled the jury: while commercial success is not required,
it is also dispositive in “most cases.” See id. at 997. Additionally, because “[t]he
evidence required to show widespread dissemination will vary from case to case,”
it is arguably not the Court’s role to tell the jury what evidence to consider in
deciding widespread dissemination. See id.

       With the foregoing in mind, the Court was exercising the utmost caution in
crafting a response to the jury’s question. See Bollenbach v. United States, 326
U.S. 607, 612–1 (1946) (noting trial judge’s obligation to attend to jury questions
with “concrete accuracy”). First, the Court offered parties a chance to stipulate to
a response, hoping the adversarial process would prevent any misstatements of
law. [See Motion at 11–12]. When the parties were unable to agree, the Court was
inclined to refer the jury back to the Ninth Circuit Model Instruction without
further specification. With the end of the day fast approaching, however, the Court
opted to give parties a chance to argue their positions orally the next day of
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deliberation. Thus, the Court was attending to its duty to respond the best way it
sought fit. See Anekwu, 695 F.3d at 986 (“[T]he precise manner by which the
court fulfills [its] obligation [to answer jury questions] is a matter committed to its
discretion.”).

       Further, “the jury apparently did not want or need the answer to the question
in order to reach a unanimous verdict.” See United States v. Ortega-Garcia, No.
CR 17-203 DSF, 2017 WL 11439800, at *3 (C.D. Cal. Dec. 11, 2017), aff'd, 748 F.
App'x 172 (9th Cir. 2019) (finding the district court’s failure to answer a jury note
before the jury returned the verdict did not warrant a new trial). Additionally, after
the verdict was read, the jurors were polled and “no juror expressed any problem
with the verdict.” See id.

      Accordingly, the Court did not err in its instruction to the jury or lack of
response to the jury note, and even if an error occurred, it was clearly harmless.
Because substantial evidence supports the jury’s verdict and instructions to the jury
were proper, Gregorini’s Motion for a New Trial is DENIED.

      B.     Judgment as a Matter of Law

       Lastly, Gregorini requests the Court grant judgment as a matter of law on
access because the evidence does not support the jury’s verdict. [Motion at 19–
22]. However, because the Court has found substantial evidence supports the
jury’s verdict, the Court cannot conclude that “the evidence permits only one
reasonable conclusion, and that conclusion is contrary to the jury’s verdict.” See
E.E.O.C., 581 F.3d at 961. As stated, substantial evidence permits the jury to
reasonably conclude no Defendant had access to Emanuel. See Fed. R. Civ. P.
50(a)(1). Therefore, Gregorini’s Motion for Judgment as a Matter of Law on
access is DENIED.

IV.   CONCLUSION

       Gregorini’s Motion is DENIED in its entirety. [Dkt. 450]. Per parties’
stipulation, if Defendants move for attorney’s fees and costs they are ORDERED
to do so within fourteen days of the date of this Order. [Dkt. 454].


      IT IS SO ORDERED.



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